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                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF LOUISIANA
                                         MONROE DIVISION


  STATE OF MISSOURI ET AL                                       CASE NO. 3:22-CV-01213

  VERSUS                                                        JUDGE TERRY A. DOUGHTY

  JOSEPH R BIDEN JR ET AL                                       MAG. JUDGE KAYLA D. MCCLUSKY

                                         MEMORANDUM ORDER

          Pending before the Court is a Motion for Clarification of Memorandum Order [Doc. No.

  140] filed by Federal Defendants.1 Plaintiffs filed an Opposition [Doc. No. 154], and Federal

  Defendants filed a Reply [Doc. No. 155].

          This Court has considered the Parties’ arguments.                The Motion for Clarification of

  Memorandum Order moves that the Court order a procedure for the unsealing of the audiovisual

  recordings of depositions once they become part of the public record. Federal Defendants made

  three requests in the Motion. The first is that they be notified two business days prior to the

  submissions of the audiovisual recordings of the depositions in the record; second, they request

  that the audiovisual recordings remain sealed for at least five business days; and lastly, they request

  that if a party seeks to keep the audiovisual recordings under seal, a briefing schedule be completed

  prior to unsealing.




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    Federal Defendants consist of Joseph R. Biden, Jr., Vivek H. Murthy, Xavier Becerra, Department of Health and
  Human Services, Dr. Anthony Fauci, National Institute of Allergy and Infectious Diseases, Centers for Disease
  Control & Prevention, Alejandro Mayorkas, Department of Homeland Security, Jen Easterly, Cybersecurity &
  Infrastructure Security Agency, and Nina Jankowicz, Karine Jean-Pierre, Carol Y. Crawford, Jennifer Shopkorn,
  U.S. Census Bureau, U. S. Department of Commerce, Robert Silvers, Samantha Vinograd
  and Gina McCarthy.
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         Plaintiffs oppose the Federal Defendants request, arguing that the Federal Defendants’

  Motion is in actuality a “motion for reconsideration,” and this Court previously rejected Federal

  Defendants’ procedure for unsealing.

         This Court previously ordered that Plaintiffs are required to redact any personal

  information (address, telephone numbers, or e-mail addresses) from both the deposition transcript

  and/or audiovisual recordings prior to the depositions being filed into the public record. This Court

  also ruled on when the audiovisual recordings will be unsealed:

         However, once the audiovisual recordings of the depositions become public record,
         they will be unsealed as part of the “judicial proceeding,” i.e., if they are introduced
         into evidence at trial or otherwise submitted in connection with some pretrial
         proceeding or motion. [Doc. No. 117, p.7].

         Therefore, the Court has already ruled that the audio transcripts of the depositions are

  automatically unsealed when they become part of the public record, subject to redaction of

  addresses, phone numbers, email addresses, and other personal information prior to being filed.

         Several depositions have already been taken and certainly the audiovisual portion would

  have been completed almost immediately. It is also presumed that Federal Defendants were

  present at these depositions and would already know what the deponents said. It is suggested that

  should there be items that Federal Defendants feel should be redacted, Federal Defendants counsel

  should contact Plaintiffs’ counsel in order to determine whether these items will be redacted prior

  to being filed into the record. For these reasons,

         IT IS ORDERED that Plaintiffs’ Motion for Clarification of Memorandum Order [Doc.

  No. 140] is DENIED.

         MONROE, LOUISIANA, this 27th day of December 2022.

                                                 __________________________________
                                                 TERRY A. DOUGHTY
                                                 UNITED STATES DISTRICT COURT

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